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 1                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
 2                             EASTERN DIVISION

 3
      UNITED STATES OF AMERICA,            )
 4                                         )
                        Plaintiff,         )
 5                                         )
            vs.                            ) No. 4:18-cr-00975-ERW-1
 6                                         )
      DUSTIN BOONE,                        )
 7                                         ) November 22, 2021
                        Defendant.         )
 8

 9                        TRANSCRIPT OF SENTENCING
                   BEFORE THE HONORABLE E. RICHARD WEBBER
10                      UNITED STATES DISTRICT JUDGE

11                                  APPEARANCES

12    FOR PLAINTIFF:                   Carrie Costantin, Esq.
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25       PRODUCED BY COURT REPORTER COMPUTER-AIDED TRANSCRIPTION


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 1           (The following proceedings were held in open court,

 2             with the defendant present, commencing at 12:58 p.m.)

 3           THE COURT:     The rule will be that anyone speaking from

 4    the microphone may remove their masks.           And we all should

 5    stay masked up as we are proceeding.

 6           Calling the case, United States of America vs.

 7    Mr. Dustin Boone.      The number is 4:18-cr-00975-ERW.          Is the

 8    United States ready?

 9           MS. COSTANTIN:      Yes, Your Honor.

10           THE COURT:     Is defendant ready?

11           MR. KUEHN:     Yes, Your Honor.

12           THE COURT:     Very well.     Thank you.

13           I would like to announce what I believe will be the

14    procedure that we will be following today at this hearing.

15           After a brief bench conference I will be making

16    calculations under the United States Sentencing Guidelines,

17    first considering objections to paragraphs 13 and 27 of the

18    presentence report.       The United States Sentencing

19    Guidelines, the Reform Act of 1984, put them in place.              I

20    will be making calculations under the guidelines as

21    mentioned.     I will be applying them in an advisory and not

22    in a mandatory manner.       I will enable -- strike that.

23           I will consider the impact of all the letters that I

24    have received on each side.        I will hear evidence that the

25    United States or the defendant will present.            I'll hear


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 1    statements of counsel and of Mr. Boone if Mr. Boone cares to

 2    speak.

 3            I will then decide if there should be any departure

 4    under the guidelines.       I'll consider all of the factors set

 5    forth in 18 United States Code 3553(a) to decide the nature

 6    and scope of the sentence.        I must impose a sentence that is

 7    sufficient but not greater than necessary to comply with all

 8    of the provisions of 18 United States Code 3553(a).              Those

 9    include consideration of the circumstances of the case and

10    the history and characteristics of the defendant.             The

11    sentence imposed must reflect the seriousness of the

12    offense, promote respect for the law, and provide just

13    punishment for the offense.        It must afford adequate

14    deterrence to criminal conduct and it must protect the

15    public from further crimes the defendant might commit in the

16    future.    It needs to provide him with needed educational,

17    vocational training, medical care, and other correctional

18    treatment in the most effective manner.           I will consider all

19    kinds of sentences available and the need to avoid

20    sentencing disparity among similarly situated defendants

21    facing similarly situated offenses.

22            We shall now have the brief bench conference at this

23    time.

24            (Pursuant to Local Rule 13.05, a bench conference was

25             held on the record and placed under seal, after which


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 1             the following proceedings continued in open court:)

 2           THE COURT:     I want now to turn to the United States

 3    Sentencing Guidelines.       There are objections to the

 4    guidelines in two respects.        The first is under

 5    paragraph 13.     Defendant objects to the statement:

 6                   "Despite having no problem probable cause

 7               to arrest L.H., and believing that L.H. was a

 8               protester, Bailey Colletta ordered L.H. to the

 9               ground."

10           The defendant argues that the evidence presented at

11    trial established that there was probable cause to arrest

12    L.H.   Specifically, defendant contends that the dispersal

13    order was given and a failure to comply with a dispersal

14    order would subject someone to arrest.

15           It is the position of the -- well, I'll disregard that

16    position of the probation office.

17           I'll hear your objection at this time.

18           MR. WILLIAMS:      Thank you, Your Honor.

19           And the Court has summarized the objection, and the

20    only thing I would add -- and this comes directly from our

21    papers:    First of all, there are two points in time where

22    you can hear on the tape that the dispersal order has been

23    given.    I believe the government has acknowledged this and

24    that their position is that L.H. was moving around the

25    library and then stopped for a short period of time.              And


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 1    while -- you know, what's a "short period of time"?              That's

 2    certainly a judgment call.        You know, by some people's

 3    calculation, that would be a short period of time.

 4           The fact is, they were in the area for over three

 5    minutes after the dispersal order can be heard on the tape.

 6    L.H. was standing in an area.         Everyone knows where he was.

 7    He was standing there.       And at that point in time the

 8    dispersal order had been given for quite sometime.             Whether

 9    it's too short of a time, I suppose that's a judgment call

10    for the Court, but the reality is, he's standing there well

11    after a dispersal order had been given, and it was

12    uncontested that that is a basis for an arrest.

13           The other thing I would add, in response to the

14    government's response to this objection, which does not have

15    an impact on the guidelines, but we do object to it being in

16    the presentence report, is any agreement that the government

17    had with Bailey Colletta about what happened doesn't govern

18    what the Court's decision is with respect to this case.

19    They agreed there was no probable cause, but we don't agree

20    with their agreement, especially after looking at the

21    transcript of the trial, seeing what the uncontested

22    evidence was.

23           Thank you, Judge.

24           THE COURT:     Thank you.     Response?

25           MS. COSTANTIN:      Well, first of all, to respond to the


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 1    objection, the first sentence that is specifically objected

 2    to, and that's the only sentence that's objected to, is,

 3    "Despite having no probable cause to arrest L.H., and

 4    believing that L.H. was a protester, Bailey Colletta ordered

 5    L.H. to the ground."

 6           The fact that Bailey Colletta, in her plea, admits

 7    that there was no probable cause when she made those

 8    statements ordering Detective Hall to the ground is

 9    dispositive of this issue.

10           In addition, I would say that this Court has seen that

11    video, the cell phone video, and when the first dispersal

12    order is heard on the cell phone video, Detective Hall is at

13    Locust and 13th Street.       On the video you can see he and

14    other people around him immediately begin to run.             You can

15    see the motion of the phone, you can see other people

16    running, and he is running north along the east side of the

17    library.    He is, in fact, dispersing.

18           When they get to the north side of the library he then

19    begins to run west.       At that point he then turns down south

20    and is coming down the library steps when the second

21    dispersal order can be heard, the one about the munitions.

22    At that point he is literally coming down the steps, and he

23    turns and goes west.       All of these are dispersing -- in all

24    the situations he's dispersing away from the order, so he

25    is, in fact, dispersing.


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 1           When that last dispersal order is heard on the cell

 2    phone video, he begins to go west.          He is assaulted six

 3    seconds after at that dispersal order can be heard, and he

 4    pauses for a moment, as you can see, when he is confronted

 5    by the officers, and that's when the assault begins.              So to

 6    say that there's probable cause to arrest him for failing to

 7    disperse ignores the video that itself shows that he was

 8    dispersing.

 9           Thank you, Judge.

10           THE COURT:     All right.     Thank you.    Response?

11           MR. WILLIAMS:      Judge, only that Bailey Colletta's

12    subjective beliefs have nothing to do with probable cause.

13    Probable cause is an objective determination, so, again,

14    what she agreed to with the government has no bearing on the

15    determination.

16           Thank you, Judge.

17           THE COURT:     All right.     The second objection is to

18    paragraph 27.     Defendant objects to the seven-level

19    enhancement pursuant to United States Sentencing Guidelines

20    Section 2A.2 -- strike that -- 2A2.2(b)(3)(C) for victim

21    suffered permanent or life-threatening bodily injuries.

22           Defendant does not contest the fact that L.H. suffered

23    serious injuries but suggests that there's a reason why they

24    are more appropriately identified as serious bodily injuries

25    and, therefore, a five-level enhancement under Guideline


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 1    2A2.2(b)(3)(C) is appropriate.

 2           So I'll hear you at this time, Counsel.

 3           MR. WILLIAMS:      Yes, Your Honor.      And we recognize that

 4    the cases from other circuits in particular are not helpful

 5    to our position in this regard, but we believe that those

 6    cases, A, are not precisely on point and are not persuasive

 7    as it relates to the difference between permanent bodily

 8    injury, which has to be a substantial impairment.             Again,

 9    that's a judgment call.

10           We recognize that the physician who testified in this

11    case testified about there being a loss of range of motion,

12    and so there is also evidence of permanent impairment.

13    There's no doubt about that.         The question is:     Does this

14    represent substantial impairment under that guideline?

15           We acknowledge that this meets the criteria for

16    serious bodily injury, which is defined as "injury involving

17    extreme physical pain or protracted impairment of function

18    of a bodily member, organ, or mental faculty."

19           The physician who testified did not testify that this

20    was permanent in terms of what the impairment was.

21    Certainly it might be, but he didn't testify that way.              He

22    doesn't have complete impairment.          It's serious, there's no

23    doubt about it.      This encompasses serious physical pain and

24    it also specifically addresses issues of surgery.

25           The one Eighth Circuit case that was cited to deals


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 1    with a scar from a bullet.        This is -- that's disfigurement.

 2    And we're not arguing that there's dis -- we're arguing

 3    there's no disfigurement.        A scar from a surgery is always

 4    going to be there.      Lasting effects from scar tissue from a

 5    surgery are always going to be there, which is why we

 6    believe that that is the appropriate guideline range.

 7           Thank you, Your Honor.

 8           THE COURT:     Thank you.     Ms. Costantin?

 9           MS. COSTANTIN:      Yes, Your Honor.

10           In order to show permanent or life-threatening bodily

11    injury there has to be a finding that there was a loss or

12    substantial impairment of function of bodily member, organ,

13    or mental faculty that is likely to be permanent or obvious

14    disfigurement that is likely to be permanent.

15           The doctor testified, who replaced two discs and fused

16    the neck of Detective Hall, that Detective Hall had lost 16

17    to 20 degrees of movement in his neck and was still in pain.

18    There was no indication that that was not permanent.              I mean

19    that's -- he indicated that it was, in fact, going to get

20    worse because there was a three-and-a-half -- two-and-a-half

21    to 3 percent chance of increasing likelihood of surgery

22    every year.     So over a ten-year period there's going to be a

23    30 percent chance that he's going to need more surgery.

24           So he clearly has substantial impairment of function

25    of his neck and he's likely to have more surgeries, and that


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 1     would indicate that -- the cases that I cite talk exactly

 2     about that, about where there's a 15 to 25 percent loss of

 3     function in a thumb -- not a neck, but in a left thumb --

 4     that that is sufficient for permanent -- to find permanent

 5     injury.

 6            Thank you, Judge.

 7            THE COURT:    Thank you.     Response?

 8            MR. WILLIAMS:     One point, Judge.

 9            The doctor did not testify that that three-and-a-half

10     percent was cumulative and that it increased every year.              He

11     said it was an increased percentage of two to

12     three-and-a-half percent each year, meaning he's got that

13     much more percentage of a chance than someone else of having

14     to have a new surgery, not that it increased.            I read the

15     testimony.    He didn't say that.       And, at best, it's

16     ambiguous if that's how it's being interpreted by the

17     government.    I don't read it that way.

18            Thank you, Judge.

19            THE COURT:    All right.     Anything else?

20            MS. COSTANTIN:     No, Your Honor.

21            THE COURT:    All right.     The objections are noted on

22     the record and will at this time be overruled.

23            The 2018 version of the guideline manual was used to

24     make calculations under the guidelines.          Under Count 1,

25     aiding and abetting the deprivation of rights under color of


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 1     law resulting in bodily injury and use of a dangerous

 2     weapon, basically the guideline for violation of 18 United

 3     States Code, Section 242, is guideline 2H1.1, civil rights

 4     violation.    Pursuant to Guideline 2H1.1(a)(1), 2A2.2,

 5     aggravated assault, is referenced when determining the

 6     offense level.     Ultimately the base offense level is 24.

 7            Specifically, under Guideline 2A2.2(a), the base

 8     offense level is 14, and the following enhancements apply:

 9     Four levels pursuant to 2A2.2(b)(2)(B) because a dangerous

10     weapon, riot baton, was used, and seven levels pursuant to

11     2A2.2(b)(3)(C) because the victim suffered permanent or

12     life-threatening bodily injuries.         However, the cumulative

13     adjustment from application of this -- of subsection -- or

14     subdivisions (2) and (3) shall not exceed ten levels.             Under

15     2H1.1(a)(1) and 2A2.2(a), the base offense level is 24.

16            Six levels are added because the offense was committed

17     under color of law.      A six-level enhancement is applicable

18     under 2H1.1(b)(1).

19            Two levels are added.       The victim was physically

20     restrained during the illegal arrest.          Specifically, while

21     L.H. was on the ground, Hays repeatedly hit L.H. with a riot

22     stick and Steven Korte kicked L.H. with his boot.             Boone

23     held L.H. to the ground while Hays hit L.H. with his stick.

24            I do not recall that evidence at all.          I think this is

25     a misstatement that Mr. Boone held him to the ground while


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 1     he was struck.     I did not see that happening at all, so that

 2     will be removed from the conclusions.

 3            Two levels are added under 3A1.3, but specifically the

 4     reference, "Boone held L.H. on the ground while Hays hit

 5     him" -- "hit L.H. with a riot stick" is an inaccurate

 6     statement of the evidence that I saw.          The adjusted offense

 7     level is 32, and the total offense level is 32.

 8            The criminal history category is 1, and the Sentencing

 9     Guideline range is from 121 to 151 months.           The maximum term

10     of imprisonment is ten years, so the effective range is 120

11     months.

12            Will there be evidence presented by the United States?

13            MS. COSTANTIN:     Your Honor, there will be no evidence

14     by the government, but Detective Hall would like to make a

15     victim impact statement.       If this is the time, he'd like to

16     do that.

17            THE COURT:    At this time I would also ask counsel to

18     come up and discuss the other matter we briefly discussed at

19     the bench concerning the letters.

20            MR. KUEHN:    Once again, would you like our client to

21     approach?

22            THE COURT:    Sure.

23                                   *   *   *   *

24            (Discussion held at sidebar between the Court and

25             counsel as follows:)


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 1            THE COURT:    Earlier mention was made that there were

 2     some letters supplied by the Court.          Actually, Mr. Hall's

 3     counsel delivered letters to chambers, and I ordered they be

 4     filed, and that's how that came about.

 5            MS. COSTANTIN:     We received two more this morning.

 6            THE COURT:    Yes, and I -- [inaudible].

 7            COURT REPORTER:      I'm sorry, I'm having a hard time

 8     hearing.

 9            MR. WILLIAMS:     So, Your Honor --

10            THE COURT:    Okay.    Wait just a second.       I don't think

11     she heard.

12            MS. COSTANTIN:     I was just saying, we received two

13     more letters this morning from Detective Hall's lawyer, and

14     I sent them to Mr. Williams and also sent -- had my legal

15     assistant bring them up.

16            THE COURT:    Okay.

17            MR. WILLIAMS:     So, Your Honor, our objection in

18     reading these letters -- which we first received the first

19     batch on Friday.     We recognize that, under 18 United States

20     Code, Section 3661, there are very few limitations on what

21     the Court can consider, but what the -- when it says "no

22     limitations," it's concerning the background, character, and

23     conduct of the defendant, so -- and, arguably, that would

24     include the effect this would have on Mr. Hall.            And we

25     acknowledge that.      And certainly there are portions of these


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 1     letters that relate directly to that.          Our concern is

 2     with -- there's -- in some of these letters entirely, but in

 3     almost every letter there is quite a bit of opinion

 4     regarding what his sentence should be and how horrible what

 5     he did was, and it's no different -- I should -- let me

 6     revise that.

 7            These are all friends of Mr. Hall, but it's only one

 8     step away from the general public coming in and opining as

 9     to what a particular sentence should be, how bad the conduct

10     is, what their opinions as to the effect on the general

11     public.    And the argue is, these things are inappropriate

12     and would be a due process violation to consider those

13     opinions just for the same reason that those people with

14     those biases would not be allowed to sit on a jury and we

15     don't invite the public to come in and do a sentence by

16     public opinion.

17            That's essentially my objection, Judge.

18            THE COURT:    Okay.

19            MS. COSTANTIN:     Judge --

20            THE COURT:    Come a little closer.       I don't think she's

21     going to hear you.

22            MS. COSTANTIN:     Judge, I would simply say that, not

23     only that statute, but there's also case law I sent to

24     Mr. Williams Friday when he raised this, that the Court can

25     consider literally any evidence and give it whatever weight


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 1     it wishes to give it.       And that would be my response.

 2            THE COURT:    Yeah.

 3            MR. WILLIAMS:     Well, just -- those cases deal with --

 4     primarily, Judge, we're talking about acquitted conduct, so

 5     those things -- that's evidence of a person's character.

 6     These are just -- what we're talking about is these letters

 7     are rife with simply opinions about what should be done.

 8            THE COURT:    Yeah, I know that's true.        What I have

 9     done is put the letters -- sort of -- give them to the

10     government.    The next letter I read is from the -- on behalf

11     of Mr. Hall.     And I'm going to read a lot of that in there

12     just for public.     There's a lot of anger associated with

13     this case, and the intention is to talk about it on the

14     record because it has some bearing on what I eventually

15     intend to do in this case, so that's the reason I'm going to

16     allow it.

17            MR. KUEHN:    One thing while we're here.         So I

18     understand that Detective Hall's going to give an allocution

19     before the government speaks, and I know Mr. Boone wants to

20     speak, to address the Court.        Would you prefer him to do

21     that before I make my sentencing remarks or after?

22            THE COURT:    Before.

23            MR. KUEHN:    Thank you, Your Honor.

24            THE COURT:    What we will do -- just a second.          Let me

25     get my notes here.


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 1            So everybody's informed, what I will do, I will ask,

 2     "Will there be any evidence by the United States?"             And

 3     we'll hear Mr. Hall.      And then, "Will there be evidence by

 4     the defendant?"     And that would be the appropriate time for

 5     Mr. Boone to speak.      And then I'll after that we'll hear

 6     from respective counsel, and I'll hear from Mr. Boone.               When

 7     would you prefer Mr. Boone to speak, after --

 8            MR. KUEHN:    [Inaudible.]

 9            COURT REPORTER:      I can't hear you.

10            MR. KUEHN:    I'm sorry.       I'll be happy, Your Honor, to

11     have Mr. Boone speak to the Court before I address the

12     Court.   Thank you.

13            MR. WILLIAMS:     Thank you, Judge.

14            (End of discussion at sidebar.)

15                                   *   *    *   *

16            THE COURT:    Ms. Costantin.

17            (Luther Hall approaches the podium to address the

18              Court.)

19            MR. HALL:    Thanks, Judge.

20            THE COURT:    Yes.    Good afternoon.

21            MR. HALL:    I'd like to thank you for giving me this

22     opportunity to address the Court.

23            THE COURT:    Would you please state your full name

24     first.

25            MR. HALL:    Luther Hall, Jr.


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 1            On September 17th, my life as I knew it changed.             My

 2     22-year career with the SLMPD, so-called friendships, and so

 3     much more changed.      I endured multiple surgeries and

 4     procedures to relieve the pain I feel every day, but I'm

 5     still in pain.     There's no surgery that can fix the

 6     psychological impact of being beaten by my fellow officers.

 7            My diagnoses are depression, anxiety, and

 8     post-traumatic stress.       Daily I take oxycodone for the

 9     physical pain and Xanax for the depression and anxiety, and

10     I still have weekly appointments to improve my mental

11     health, all because of the actions of the defendant.

12            People tell me it will get better, and I hope they are

13     right, but more than four years have passed and I'm still in

14     physical pain.     I'm still hypervigilant, afraid of what

15     might trigger my flight or fight reflexes.           I'm still

16     anxious and still depressed.

17            Defendant Hays, you sentenced to 52 months.

18     Defendant Boone will get out after whatever time you

19     sentence him, but my life is forever changed.            It will never

20     be normal.    I don't get to put this behind me because the

21     pain reminds me every day that my fellow officers -- or what

22     my fellow officers did to me.

23            After the last two sentencings I don't feel what I and

24     my family and my friends had to endure for the last

25     four-plus years really mattered in your decision-making.              In


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 1     an article published on the Crime Report website in 2018,

 2     you stated you have a burning desire to make life better for

 3     the people in the inner city.        St. Louis again can be great.

 4     It's not great now.      It's divided.     Seriously racially

 5     divided city.

 6            Because of the sentences you handed down this summer

 7     to defendants Colletta and Hays, you've increased that

 8     racial divide in the city.        Your Honor, you showed

 9     Defendants Colletta and Hays mercy, praised them for their

10     accomplishments, and gave them lenient sentences.             By doing

11     this, you have not only increased the divide in the city but

12     reinforced the belief that white defendants, especially

13     white police officers, are given preferential treatment;

14     that white police officers who assault, mistreat, and

15     violate the civil rights of African-American protesters,

16     citizens, and even law enforcement officers are never fully

17     held responsible for their actions.          The defendants were

18     coddled and showed favoritism.

19            And in rare cases like this one, when white defendants

20     are found guilty or plea, they're often given lighter

21     sentences.    The defendants are normally treated with

22     leniency that's not shown to African-American defendants.              I

23     can say this:     My family, close friends, and the

24     African-American community who followed this case from the

25     beginning in no way believe your sentences for defendants


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 1     Hays and Colletta in any way were beneficial to the

 2     community.    One of my friends spent several years working

 3     and serving for the better family life, and I can tell you

 4     that he was disappointed with the sentences you handed down

 5     to Colletta and Hays.       The sentences you handed down were

 6     much lighter than some black police officers that were

 7     charged with lesser crimes in which victims were not

 8     assaulted, not injured, not seriously injured, and civil

 9     rights were not violated.

10             In your interview you also stated that 5 percent of

11     the population will never be helped, that they need prison,

12     and that they're going to hurt someone if here out there.

13     The officers that assaulted me on September 17th, 2017, are

14     part of that 5 percent.

15             Defendant Boone has shown he is in part -- he is part

16     of that 5 percent by his words and action.           He is, in

17     part -- he is part of that 5 percent who enjoy hurting

18     people.    He bragged about hurting others besides me.           He

19     told like-minded officers that beating the hell out of

20     shitheads like me was going to be a lot of fun.

21             Like Hays and Meyers, he expressed his excitement and

22     he was elated to confront protesters and inflict harm on

23     them.   He now claims he was just doing his job, and when he

24     held me down while other officers beat me -- but in his own

25     words and actions he showed that this was true.


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 1            He even shared the fun of beating up protesters with

 2     his girlfriend, FaceTiming what he did to me.            He considered

 3     what he did to me entertainment until he found out that I

 4     was a police officer and that he might be held accountable.

 5     Defendant Boone is worse -- is the worst of the 5 percent

 6     who are going to hurt people if they're out.            He used his

 7     authority of his badge to harrass, target, and assault

 8     people of color, and enjoyed doing so.          He is a predator.

 9            Defendant Boone exchanged vile, foul, and racist text

10     messages with his father, mother, sister, wife, coworkers,

11     and the mayor of Bonne Terre, Missouri.          He and others who

12     share his sentiments ask you to believe that the text

13     messages are not the real Boone, but they are.            He sent

14     those text messages to his family and friends, people who he

15     trusted, people who he shared his sentiments.            These text

16     messages show a pattern of blatant racism by Defendant Boone

17     and a disdain for the African-American community.

18            Judge, in your 2018 article you stated that you

19     believe the spirit can be revived and St. Louis again can be

20     a great city, that you believe everyone can have a better

21     life and that the city is still divided.

22            I would say to you, for the citizens of the city, and

23     especially the African-American community, you handing down

24     the recommended sentence by the U.S. Attorney's Office to

25     Defendant Boone will send a strong message to the law


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 1     enforcement community and the citizens of St. Louis.

 2            Defendant Boone also stated to you that there's a

 3     culture of excessive force within the St. Louis Police

 4     Department.    The culture persists because officers who use

 5     excessive force are not held accountable.           Your sentence

 6     will send a message about whether those officers who hold

 7     positions of trust, authority, and power can abuse that

 8     trust, authority, and power.        Police officers must be held

 9     to a higher standard or the culture of excessive violence

10     will continue.

11            And the people of St. Louis, especially those of

12     color, who know when they break the law they will not be

13     shown mercy, must know that white police officers or law

14     enforcement officers who break the law will not only be

15     charged, they will be tried, convicted, and not receive

16     special treatment.

17            Your Honor, I implore that Defendant Boone, who

18     participated in the brutal assault on me on September 17th,

19     2017, be held accountable and that you take the sentencing

20     recommendations of the AUSA.

21            Thank you.

22            THE COURT:    Thank you, Mr. Hall.

23            Will there be evidence by the United States -- by the

24     defendant?    I'm sorry.

25            MR. KUEHN:    Your Honor, we've attached 22 exhibits to


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 1     our sentencing memorandum.

 2             THE COURT:   Yes.

 3             MR. KUEHN:   In addition to those exhibits, the only

 4     thing we would like to present to the Court is an allocution

 5     by Mr. Boone.

 6             THE COURT:   Yes.    At this time, Mr. Boone, come

 7     forward.

 8             (Dustin Boone approaches the podium to address the

 9              Court.)

10             MR. BOONE:   Thank you, sir.      Thank you for your time

11     today.

12             THE COURT:   Sure.

13             MR. BOONE:   I'd like to start by acknowledging why

14     we're here and tell Luther, I'm sorry for what happened to

15     you.    Sorry for what happened to you on the night of

16     September 17th, 2017.

17             While the prosecution has proclaimed my apology to you

18     as not being genuine and me being uncooperative, all I can

19     say is the message was and still is 100 percent heartfelt.

20             I also completely understand why you have doubts

21     regarding that authenticity after seeing my text messages,

22     the context of which were bias, racially charged, extremely

23     careless, arrogant, and downright mean.          I will be

24     embarrassed and apologize for those messages for rest of my

25     life.


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 1            The embarrassment this caused me is well-deserved, I

 2     would say, but the embarrassment to my family and loved

 3     ones, seeing what they've had to endure because of me is

 4     hard to live with and something I think about daily.

 5            The words on my phone were a disgusting illustration

 6     of my disregard for other people's feelings, partly due to

 7     the fact that I never had one single instance in my life

 8     where words come with consequences.          To me, before this

 9     event, words were just a way for me to say outlandish

10     nonsense to get a reaction or to overinflate or embellish

11     things.    Not one person I was close to was ever affected by

12     the words I spoke or wrote, so I thought -- or, so I

13     thought.

14            When these texts surfaced, it made me realize how the

15     power -- I'm sorry -- made me realize the power they have,

16     how they actually do hurt people, how they can be portrayed

17     and spun, how they can be read at face value with no spin

18     needed.    This process has taught me there's great

19     consequence to words.       It's humbled me, caused me to

20     apologize more than I would have ever previously believed.

21     Caused me to look dear friends, coworkers, acquaintances in

22     the eye, and with no excuse or explanation available to me,

23     and just say, "I'm so sorry you had to read those words.

24     Please forgive me."      Most have, thankfully.       Some never

25     will, and I understand their stance on that.


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 1            Never will I claim I didn't know that it was wrong.

 2     I'm not going to insult anyone here by making that

 3     statement.    I'm simply saying, the words do not have the

 4     meaning behind it that it has to the people on the receiving

 5     end of it each time it's uttered and texted.

 6            I would also like to say the use of these words, my

 7     ignorant, irresponsible, and careless speech, is not a

 8     product of my upbringing.       Almost every single member of my

 9     family has come under fire during this time.            Certainly I

10     have feelings about these tactics but also recognize it

11     stems from me and it is my fault.         My family's filled with

12     great people, no matter how much their character is

13     continuously defamed by this prosecution.           They are my main

14     support system and I will stand by them as they have stood

15     by me forever.     They do not deserve what they've gone

16     through because of me, and I'm relieved another aspect of

17     this is coming to an end for them today.

18            To my entire family:       As I've told you countless

19     times, I'm so sorry for what I've caused you to go through.

20     We'll make it through this like we've made it through

21     everything else life has thrown at us, and we'll be stronger

22     and we will be better.

23            I have lessons to learn.       I have to change my

24     attitude, my disregard for the feelings of others, my

25     carelessness with words.       But there are lessons I have


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 1     learned.    This did not come into my life a short time ago.

 2     It's been a three-year hell in which I've had nothing but

 3     time to self-reflect, learn, grow, address some of the

 4     shortcomings in my personality.         I plan to continue and grow

 5     as a man.

 6             Your Honor, and Luther, people can change their ways,

 7     even people you view as ignorant and as mean, as you've

 8     probably viewed me.      It's very difficult to hear the things

 9     said about me and my family.        It's opened my eyes.       I hope

10     you believe me when I tell you the words produced in this

11     case from my phone do not tell the entire story of

12     Dustin Boone.     I believe I am and have been a good person in

13     life.   This made me realize some changes had to be made.

14     I've improved as a person throughout this process, and

15     admittedly, I have more areas I can still improve on.

16             My life's future is in your hands now, sir.           I ask you

17     show me some compassion and hand me a sentence in which my

18     two girls and I can keep our family together intact again.

19             Thank you for your time.

20             THE COURT:   Thank you, sir.

21             MR. KUEHN:   Thank you, Your Honor.

22             THE COURT:   I will now hear from Ms. Costantin.

23             MS. COSTANTIN:    Thank you, Your Honor.

24             Judge, as I said in my sentencing memorandum, I'm

25     asking the Court to sentence the defendant to the 120-month


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 1     sentence of the advisory guideline range.           And I'm not going

 2     to rehash my entire sentencing memorandum but I just want to

 3     talk about some important points.

 4            First of all, the defendant's intent, and the intent

 5     we know from the text messages on his phone, before the

 6     assault occurred he thought -- he texted that his role on

 7     CDT was to just F people up when they don't act right.

 8            Another quote is, "It's going to be fun beating the

 9     hell out of these shitheads once the sun goes down and

10     nobody can tell us apart."

11            And it's -- another quote is, "It's F'g awesome.

12     People on the streets get F'd up.         LOL."

13            So we know what his intent was before the assault.

14     And then during the assault he is actually FaceTiming his

15     then girlfriend.     He has his phone in the front of his CDT

16     equipment and he's FaceTiming -- that is, he is streaming --

17     what he is doing to his girlfriend.          He's totally showing

18     off for her, and that's what this portion is about is him

19     showing off for her, showing how tough he is, showing what

20     he's going to do to this protester who turns out to be

21     Detective Hall.

22            It's the next day when he learns that the victim is

23     Detective Hall, is a police officer, he texted his

24     girlfriend, "Nothing about that story to anyone.            Not

25     entertaining at all at this point."


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 1            And that is the point, is that this was entertaining

 2     to him.    Beating up protesters was entertaining.          That was

 3     his intent was to beat up protesters, and that's what he

 4     participates in when he -- when Detective Hall is assaulted.

 5            Those texts also show four other assaults he

 6     participated in.     On April 19th of 2017, he texted other

 7     officers that he tased a motor vehicle theft suspect and,

 8     "caught him in some thick overgrow in a side vacate lot.

 9     There was nobody around except me, Shaw" -- referring to

10     Officer Shaw -- "shithead and God.         He's in the hospital

11     now, poor guy."

12            Defendant Boone also texted, "Ha-ha-ha.           We made him

13     tell the other officers on scene that he is a pussy.

14     Ha-ha-ha.    He was puking on himself while EMS was looking at

15     him, and saying, 'I'm a pussy, I'm a pussy,' and crying."

16            And then these are the words of the defendant:            "It

17     was the greatest moment of my short career.           LOL."

18            And that is evidence that was heard in Court that was

19     admitted into evidence.       That's one of the assaults that

20     he's done.

21            And I'm talking about, not including the one where he

22     participates in the assault of Detective Hall.            After the

23     assault on Detective Hall, in October of 2017, October 12th,

24     he texts another officer that he's open hand slapped him --

25     referring to a suspect.       "One time down there when Santa" --


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 1     meaning Officer Santa -- "and I were doing shit with mobile

 2     reserve.    He is an ignorant MF.       We didn't arrest him but he

 3     got his eyes widened a little with the slap from a white

 4     boy."   So that's a second assault that he's participated in.

 5             On November 7th of 2017, he texted -- the defendant

 6     texted another police officer:        "Yep, motherfuckers, dude

 7     got caught in a dead-end gangway, though he was crying and

 8     bloody for making me run that far."          So that is another

 9     assault that he's participated in.

10             Last one he talks about in text is March 28th of 2018

11     when he arrested a juvenile, and the defendant officer

12     texted him and says, "I hope you beat that kid's ass."

13             And the Defendant Boone's response was:          "We didn't

14     take him to Children's Hospital for nothing.            LOL.   There

15     are so many damn RTCC cameras" -- and we know, Judge, from

16     trial, that means Real Time Crime Center cameras -- "in the

17     5th" -- referring to the 5th District -- "I had to literally

18     drag him behind a privacy fence to avoid one.            Can't believe

19     how inconvenient they have made things."

20             So when you're looking at the defendant and sentencing

21     the defendant, you are to consider his history and

22     characteristics.     And his history can be his criminal

23     history, what he's been convicted of, but it also is his

24     history of assaulting other suspects, because that's all

25     Detective Hall was to him, he was just somebody else that he


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 1     could assault, that he could send a video of the assault to

 2     his girlfriend while he was doing it, and then boast about

 3     these actions afterwards.

 4            The vast majority of police officers perform their

 5     duties responsibly and conscientiously.          The defendant did

 6     not.   He used his position as a police officer to assault

 7     suspects.    He abused the trust that we put in police

 8     officers and then he boasted about it.          A stiff prison

 9     sentence is necessary to show the community that this

10     conduct is not to be tolerated, and send a message to those

11     police officers who do abuse the discretion and the power

12     that we give them.

13            In summary, Judge, I would say the defendant said he

14     was going to have fun beating protesters, he participated in

15     the assault of Detective Hall, he boasted about beating

16     protesters and other suspects both before or after

17     Detective Hall was assaulted, and that's why I'm requesting

18     a guideline sentence of 120 months.

19            THE COURT:    Whenever you're ready, Counsel.

20            MR. KUEHN:    Thank you, Your Honor.

21            Your Honor, good afternoon.        I know this is an

22     important case, Judge, and I know that a lot of people are

23     watching.    And to a lot of the observers Dustin Boone, who

24     is the only defendant convicted at either of these trials,

25     represents every police officer who huddled around 14th and


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 1     Olive and assaulted Detective Hall, kicking him, punching

 2     him, clubbing him with riot batons.          But the fact is,

 3     Judge -- and I think this portion of the evidence is pretty

 4     much beyond dispute:      Detective Boone personally, or

 5     Officer Boone -- now Mr. Boone -- did none of those things.

 6     There are certain incontrovertible facts in this case, facts

 7     that are supported by photographic evidence that I believe,

 8     Your Honor, are very central to deciding Mr. Boone's fate.

 9            And I want to begin my commentary just as 3553(a)

10     does, by an examination of the nature and circumstances of

11     the offense and some of these incontrovertible facts.

12            One is, Judge:     This was not an escalating situation.

13     We're not dealing with a situation where there is an arrest

14     and during the course of the arrest it gets -- begins to

15     escalate and eventually it turns to excessive force.

16     Basically what we know from Detective Hall's video, his

17     phone video, and from the other photographic evidence is

18     that Detective Hall was ordered to the ground, and before he

19     could even make it to the ground this assault begins.             He is

20     slammed to the ground, he's hit with riot sticks, he's

21     kicked in the face, he's hit repeatedly.           And we watch the

22     seconds tick by on the video.        And I've got to tell you,

23     Judge, they tick by slow when you're listening to an

24     assault.    I can't imagine how slowly they ticked by for

25     Detective Hall.


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 1             But we sync these with the FBI enhanced pictures of

 2     where Dustin Boone is during the course of this assault, and

 3     as it begins and as he's slammed down and as he's hit with

 4     riot batons, and like the government's counsel said it at

 5     Mr. Hays' sentencing, you can see in the photographs the

 6     riot baton being used against Detective Hall.            And you can

 7     also see Dustin Boone, Your Honor, and he is actually moving

 8     away from this large huddle of police officers who have

 9     congregated around Detective Hall as he lie on the ground.

10     And Detective Boone, Mr. Boone, moves towards the

11     Landry Fort situation, we know from photographic evidence,

12     and then returns during the course of the 12 minutes of

13     photographic evidence that we have during the course of this

14     assault.    And then there's this 39-second period where

15     everything goes dead for a while.         And at some point we know

16     Dustin Boone entered the fray, and we don't know exactly

17     when.

18             But there's certain aspects of this case that I

19     believe, Your Honor, warrant serious consideration.             And

20     primary among them is that, when this assault began, when

21     the decision was made to take Detective Hall to the ground

22     and when he was being struck by riot batons, he was not part

23     of this incident; he was off to the side.           And one of the

24     reasons why that's important, Judge, is because, under this

25     important section that we have in the United States Code,


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 1     3553(a), one of the things that the Court must consider is

 2     unwarranted sentencing disparity among similarly situated

 3     defendants.    And I know it's the government's position that

 4     Randy Hays and Dustin Boone are not similarly situated

 5     because Randy Hays pled guilty, Dustin Boone did not.

 6     Randy Hays testified for the prosecution at least at one

 7     trial.   Dustin Boone did not.       And those things are true.

 8     Those are important distinctions.         But I would say, Judge,

 9     they're not as important as other distinctions that exist in

10     this case.

11            One is:    Detective Hays, who received a 52-month

12     sentence, he started it.       His colleague and girlfriend,

13     Bailey Colletta, walks past this generator.           Luther Hall

14     catches her eye and she immediately screams for him to get

15     on the ground, and her then colleague and boyfriend, hearing

16     her excited comments, runs into the fray and throws the man

17     on the ground.     He then pulls out a lethal --

18            Yes, sir.    I'm sorry.     I thought you were going to

19     ask --

20            THE COURT:    No.

21            MR. KUEHN:    He then pulls out a lethal weapon, a riot

22     baton, and strikes the man three to five times.            He then

23     throws him to the ground again.         It is sometime thereafter

24     that Dustin Boone enters this picture.          Dustin Boone did not

25     hit him with a lethal weapon, he didn't hit him with


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 1     anything, not his fist, not his boots.          That's the testimony

 2     of Randy Hays at the first trial.         And there's not a single

 3     shred of evidence to suggest otherwise in this trial that he

 4     ever hit struck, clubbed, or did anything other than

 5     restrain the man.

 6            That doesn't make him blameless, Judge.           The jury has

 7     spoken and he deserves to be punished.          But in terms of

 8     looking at unwarranted -- or warranted disparity and

 9     deciding, in light of the 52-month sentence that Randy Hays

10     received, what's an appropriate sentence, it's important

11     that Dustin Boone did not strike the man, that he wasn't

12     there when this arrest started, and that he never threw him

13     down on the ground.      He restrained him and he should be

14     punished for that.

15            But I would suggest, Judge, that given these facts and

16     given the differences, if the mission of any Court is to

17     find a sentence that is sufficient but not greater than

18     necessary to meet the aims of 3553(a), that if a 52-month

19     sentence is sufficient for a defendant, notwithstanding how

20     he behaved afterwards -- if that sentence is sufficient for

21     a defendant who clubs a man, throws his face down into the

22     pavement twice, and was there from the very beginning, it

23     ought to be sufficient or greater than sufficient --

24     something less is warranted for a man who comes in long

25     after the violence was initiated and restrains him.


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 1             Now, Judge, I want to turn to the history and

 2     characteristics of the defendant, and they're tough in this

 3     case.    And they're tough in a lot of cases, Judge, because

 4     human beings are complicated creatures and a lot of times

 5     they show different sides of themselves.           And I've got

 6     nothing to say about those texts, other than they're vile.

 7     I really can't justify them.

 8             Now, I can say this, that a lot of the texts that the

 9     government focuses on with respect to prior incidents of

10     assaults, they're not corroborated by any complaints of

11     civil rights violations, they're not corroborated by

12     evidence; they're simply things that he writes on his cell

13     phone.   Again, I can't justify them.

14             I can say this, Judge:      That we've also presented to

15     you character letters by individuals like Officer Linhorst,

16     who put himself out there, who's married to an

17     African-American woman, and he says, "I rode with

18     Dustin Boone.     I saw him go into underprivileged communities

19     and I watched him diffuse situations, not with violence but

20     with humor."

21             He essentially tells you, Judge -- and he's aware of

22     the texts.    He tells you, the man Dustin Boone is showing

23     himself to be in these select texts that have been presented

24     by the government is not the man I witnessed when I rode

25     with him and watched his policing.


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 1            We've got these horrible texts.         We've also got

 2     commendations, awards, things that Dustin Boone did well

 3     when he was a police officer.        We have these texts which

 4     involve racial content.       They're racist texts.       I would

 5     submit to you that, on one hand, you've got these terrible

 6     racist things being said; on the other hand, you've got one

 7     of the Boone family's best friends, who's an

 8     African-American woman, and says, "I know what the texts say

 9     but that doesn't change the love he's shown me."            There's

10     one house where she, as an overprotective mother, who will

11     allow their kids to stay other than grandma and grandpa's,

12     and it's the house of Dustin and Ashley Boone.

13            It's all to say, Judge, that people are multi-faceted.

14     He's shown a very dark side of his character, something he

15     intends to work on and that he has worked on.            And I hope

16     he's right.    But there are better sides of the man, too, and

17     you know that because of the letters that were written to

18     you on behalf of Mr. Boone, not just by his family but by

19     friends and by other police officers.

20            And one thing that I think cannot be disputed, Judge,

21     is that Dustin Boone is one heck of a family man.             And I'm

22     sure Your Honor's aware and read it in presentence report:

23     Dustin Boone was abandoned by his father when he was an

24     infant, his biological father.        There's a man in his life

25     that he considers to be his father now, but his biological


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 1     father left him before he ever knew him.           And very early in

 2     his life Dustin Boone decided he was not going to be that

 3     kind of a dad, and he's not.        He's a very involved, very

 4     supportive dad, very loving husband.          He's supportive to his

 5     parents and to his sisters and to his friends and to the

 6     people of the community, Your Honor.

 7             He's got a skill, and it's one that I wish he'd have

 8     stuck with because, as much as I don't think those texts

 9     should overshadow the conduct in this case, I think what

10     happened and the role that Dustin Boone played in the

11     assault and when he entered the assault, that these should

12     be the things that drive your decision, Your Honor.             I don't

13     think the texts should overshadow them.

14             But I will say that as much as -- I guess what I'd

15     like to say is that those texts show he probably should have

16     never been a police officer.        And I hope he's changed.        He

17     should have stayed as an electrician.          That's a skill that

18     he has and it's one that he used, not just to line his own

19     pockets, Your Honor.      He went to friends' house and helped

20     them in times of need; more importantly, donated his time to

21     Habitat for Humanity.       He went to underprivileged

22     neighborhoods in St. Louis and helped people with electrical

23     work that could not otherwise be done so that they would be

24     safe.   And, again, that shows another side of the man that

25     isn't reflected in the select texts that have been presented


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 1     to Your Honor.

 2            I think deterrence is an important factor in this case

 3     and in any other.      I know it's important in a case like

 4     this, and people are watching.        And I would say this, Judge:

 5     As a society, we've made strides.         And I think it's the

 6     advent of the iPhone where people walk around with video

 7     cameras in their pockets now and you can't sweep police

 8     brutality under the rug.       It's a good thing.       And by and

 9     large over the course of time, internal affairs

10     investigation and maybe a 1983 lawsuit where you stand to be

11     indemnified by whatever department you work for, these were

12     the only deterrents that really existed, by and large.              And

13     now things have changed.       We see more prosecutions underway.

14            I've got to tell you, Judge, when you're a police

15     officer, one day in a penitentiary is a very frightening

16     thought, and that's becoming a reality.          And the sentence

17     that you delivered to Randy Hays, it's going to send a

18     message to other police officers.         And whatever your

19     sentence is here today -- we're advocating a sentence of 26

20     months, but whatever your sentence is, it's going to send a

21     message to the public, in addition to the public ridicule

22     and the embasement that's brought upon families and the loss

23     of employment and the stigma of a felony conviction that

24     will last for the rest of Dustin Boone's life.

25            In addition to that, I can tell you, Your Honor, he's


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 1     frightened for himself and for his family, and he's about to

 2     enter a situation where he'll be persona non grata.             He'll

 3     be amongst people who were put away by members of law

 4     enforcement.

 5            Judge, I don't want to talk too much about this

 6     probable cause, and you've already ruled, and I respect that

 7     ruling.

 8            I do want to say one more issue about at least

 9     Dustin Boone's thoughts and what a person in his position

10     would think.     From the outset I would say this:         Whether or

11     not there was probable cause to arrest Detective Hall or

12     not, the man shouldn't have been assaulted.           He shouldn't

13     have been thrown to the ground and beaten with a club or

14     stomped on or punched in the face.

15            I will say that from Detective -- or from Mr. Boone's

16     perspective, what he sees is his fellow officers yelling at

17     the man to get on the ground and to show his hands,

18     repeatedly.    He's several feet away.        He hears them

19     repeatedly saying, "Show me your hands, get on the ground,"

20     and he may have seen the violence that is being rained down.

21            Now, Your Honor, he's not -- he doesn't know why those

22     directives are being given to begin with.           He's out in the

23     middle of a situation.       There are people running in

24     different directions, there are dispersal orders being

25     given, there are pepperballs being fired.           Some of the


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 1     police officers are rubbing tears out of their eyes and one

 2     may have even vomited.       This is a chaotic situation, Judge,

 3     and he is listening to what his other -- the other police

 4     officers, including Randy Hays, were doing, and he runs over

 5     and eventually enters the fray.

 6            Obviously, Detective Hall was not out there to break

 7     the law; he was out there to enforce the law.            We're not

 8     suggesting otherwise.       We're not saying that he was a

 9     criminal.    However, from this man's perspective, how would

10     he know otherwise when he's watching his fellow officers

11     yell commands like they were when he enters the mix?             And

12     that all preceded him becoming involved in what was the

13     assault on Luther Hall.

14            Judge, I've got to tell you, the next thing that I was

15     going to talk about, I was going to explain why Dustin Boone

16     did not make an allocution.        I was worried that if we bring

17     this case up on appeal, which we intend to do, that his

18     allocution might ultimately be used against him the way the

19     first apology was.      I want Your Honor to know that what

20     Mr. Boone came up and said to you was contrary to his

21     lawyers' advice.     It does underscore how important it was

22     for him to get up here, take responsibility, say he's sorry

23     to Mr. Hall for the second time, and to tell you that it's

24     important to him to change his ways.

25            Now, Judge, on to my recommendation.          I think it's


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 1     difficult for any Court any time to arrive at a decision

 2     that will so seriously affect a man's life or a woman's

 3     life.   I don't envy your position in that regard.            Heard

 4     many judges say it's the hardest job that he or she has, and

 5     I believe it.

 6             The reason I chose 26 months, it happens to be halfway

 7     between zero months of incarceration that so many of the

 8     officers involved in this situation received, those that

 9     were charged, those that were not charged but who were

10     huddled around and managed to evade detection.

11             We know from those pictures, there were a lot more

12     than the handful of officers that have been indicted

13     involved in this situation.        It's plain and simple to see on

14     the videos.    And Dustin Boone was only one of the few who

15     self-identified that next day when Sergeant Jemerson walked

16     into the electricians' hall and says, "Who was involved in

17     the arrest on 14th and Olive?"        And Dustin Boone, not

18     knowing at that time that Detective Hall was the victim in

19     that situation, said, "I was there."

20             Twenty six months is between the zero most people

21     would receive and the 52 that the primary actor received.

22     And I think one thing, Judge, that -- I've alluded to this,

23     but I haven't said it like this.         Dustin Boone is convicted

24     as someone who aided and abetted this assault at whatever

25     juncture that he entered after the 11 or 12 seconds elapsed.


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 1     Randy Hays is the principal actor here.          He initiated this

 2     arrest, he used a deadly weapon, threw Mr. Hall to the

 3     ground.    Dustin Boone did none of those things.          And I think

 4     that the spirit of 3553(a) supports a sentence somewhere

 5     below Randy Hays, and we picked 26 because it was the midway

 6     point.

 7            Your Honor, that's all I have to say.          I know that it

 8     was a lengthy memorandum and that my comments this morning

 9     were lengthy but I had a lot of important things to say on

10     Mr. Boone's behalf.      I appreciate you listening.

11            Thank you.

12            THE COURT:    Thank you, Counsel.

13            In each case I prepare a sentencing sheet and I want

14     to go over that at this time.        I do acknowledge, as you

15     mentioned, Counsel, that his parents divorced when he was an

16     infant, and only recalls very few occurrences with his

17     father.    I believe he was a toddler at that time.           After his

18     mother remarried, at one time he took it upon himself to

19     change his name to the name of his adoptive father.

20            He has no other criminal offenses, no drug history.

21     Suffers from asthma.      He was in an automobile accident,

22     fractured his right knee and right arm, and was damaged

23     in -- his left eye socket was damaged.          Graduated from high

24     school.    Was with the International Brotherhood of

25     Electrical Workers, Local 1.        In 2016, became a member of


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 1     the St. Louis Metropolitan Police Department.            He has skills

 2     as an electrician and has worked in that job before and

 3     since he was a police officer.        His children have been

 4     mentioned.    His wife has been mentioned.         And those are the

 5     facts that I picked up from the presentence report.

 6            I'm going to -- I invite everyone to sit back and

 7     relax.   This is going to take some time.          I have a lot of

 8     letters in this case, and what I've done is arranged them in

 9     an order where, to the extent -- numbers aren't exactly the

10     same, but I read a letter that has been submitted to me in

11     support of Mr. Hall and then I read a letter that's in

12     support of Mr. Boone.       And so it's going to take some time.

13     I have marked up all the letters.         I'm not reading them in

14     their entirety but only those portions that I -- that are

15     not -- well, I think that are most relevant.

16            This one -- I'm not mentioning names.          These letters

17     are all in the public record and they're available for

18     anyone to see that wants to go there and look at them.

19            "Let me start by saying, I've always been a proud

20     member of the Missouri St. Louis Metropolitan Police

21     department but the events of the night of Luther's assault

22     and the behavior of those involved following the assault has

23     made me question my pride in such a department.

24            "I implore you to send a message to those that don a

25     badge everywhere.      A message needs to be sent that the


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 1     racist culture that exists among the -- among those in

 2     uniform is no longer welcome here and must -- amongst the

 3     ranks of the St. Louis Metropolitan Police Department or

 4     anywhere.

 5            "You see, it is apparent, those involved in this

 6     incident felt they did nothing wrong in beating a black man

 7     until that black man turned out to be another officer.

 8     There was no remorse.       In fact, in texts between those

 9     involved leading up to the event bragged about wanting to

10     beat people and violate their rights.          Their remorse came

11     only when the next morning they realized that they had

12     beaten an officer.

13            "I watched the incident take a huge toll on my friend,

14     Detective Luther Hall.       The once jovial and high energy

15     friend I always have known Luther to be is now almost

16     reclusive, only speaking to those of us he trusts, because

17     trust doesn't really come easy for him now.           He loved being

18     a policeman and did extra projects for this department he

19     believed loved him so much, a love that was betrayed by the

20     actions of those officers that night and the handling of the

21     incident from the top down.        Luther was always very active.

22     He loved being out among friends, rollerblading in the park,

23     and just being around people.        He can't enjoy those things

24     any longer because it brings such anxiety and uneasiness.

25            "The fact Dustin FaceTimed the assault and shared it


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 1     with family is a disgusting truth to just how deeply the

 2     racism and bigotry run.       Dustin's family, his father being a

 3     retired sergeant from the department, joined in the much --

 4     in much of Dustin's racial rants.         Dustin admits often times

 5     in his texts rants of beating other victims and proudly

 6     depriving them of their rights."

 7                                   *   *   *   *

 8            "I have been married for 17 years to my husband, who

 9     is a 15-year veteran of the St. Louis Metropolitan Police

10     Department.    As a member -- as a mother of six children, a

11     black woman who was born and raised in North St. Louis, I

12     would like to share with you my feelings about my friend

13     Dustin.

14            "I met Dustin and his wife, Ashley, through my

15     husband.    My husband does not hang out with a lot of

16     policemen but so when he does introduce me to a police

17     officer, I know he thinks very highly of them.            Dustin,

18     Ashley, and I quickly became friends.

19            "Dustin has sent us clothes, toys, electronics,

20     et cetera, that we never would have been able to afford.              He

21     never made it -- he never made it feel -- he never made it

22     feel like charity and the kids were always so excited.

23            "And I know Dustin has grown so much through the whole

24     process.    I know Dustin loves me and my husband and my kids

25     as a family.     No text change the man I knew who deeply loves


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 1     his family and friends."

 2            (Off the record.)

 3            THE COURT:    "I first met Luther in 2004 as a neighbor

 4     and colleague.     In 2013, Luther and I became partners as

 5     detectives.    Together we took pride in our work and earned

 6     the reputation of being thorough, fair, and honest in our

 7     investigations, thereby earning the confidence and trust of

 8     the Chief of Police.

 9            "As a result of Dustin Boone's actions, Luther's life

10     has been forever changed.         He experiences ongoing physical

11     and emotional distress.

12            "Finally, Dustin Boone's assault on Officer Hall ended

13     his 25-year career as a St. Louis City police officer.              By

14     doing so, Luther didn't just lose his livelihood, he lost

15     his identity and spirit.

16            "Our community needs to repair this trust.           A first

17     step towards this is accountability.          I understand your

18     commitment to repairing the racial gap.          In making your

19     determination, you can start to right the wrongs of the past

20     and start rebuilding trust in our justice system by holding

21     Dustin Boone accountable for his actions and sentencing him

22     to the recommended 120 months.         Anything less is a

23     disservice and insult to Luther Hall and victims of hate and

24     racism."

25                                   *   *   *   *


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 1            "Dustin and I met when he was a young officer and a

 2     veteran -- and I a veteran officer.           The Dustin Boone I know

 3     from the job, the Dustin who treated people with respect and

 4     dignity and often left people we made contact with laughing.

 5     I never once witnessed or heard anything that caused me to

 6     question Dustin's character or treatment of people in the

 7     community.

 8            "I know Dustin had texts on his phone that he is not

 9     proud of and he has paid dearly for those texts.            Dustin is

10     a man I trusted with my life and who I was proud to get to

11     ride with.

12            I've seen Dustin risk his life while serving North

13     St. Louis.    I've seen him show people, like the homeless

14     drug addict, compassion."

15                                   *   *   *   *

16            "Luther was a shell of himself.         He was gaunt.      His

17     muscular build was gone.       And so was that walk.       That

18     head-up-high-self-assured walk.           There was sadness in his

19     eyes as we came together to raise money for his hospital

20     expenses that resulted from the defendant's cowardly act.               I

21     became angry.     I'm still angry as I write this Victim Impact

22     Statement.

23            "Luther has sustained horrible injuries as a result of

24     the attack.    But be clear.      Luther is not a victim, and he

25     never will be.     He is an overcomer.        He is someone who


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 1     defies the odds and lives life on his own terms.            He is

 2     someone of character who stresses the importance of doing

 3     what is right.

 4            "Your Honor, I am asking that you hand down the

 5     maximum sentence because there must be consequencess for

 6     their actions, and you must send a clear message that

 7     St. Louis will not tolerate this rogue behavior.

 8            "Luther is like a brother to me.         When I came to

 9     St. Louis to begin a Christian-based program for at-risk

10     youth, Luther set up all the technology and computers we

11     needed to help the youth.

12            "Luther met some of the at-risk children and

13     interacted with them.       His compassion and care helped those

14     young black boys see police officers in a different light.

15            "Please do not give the defendant a life sentence -- a

16     light sentence because he wore a badge.          Give him a sentence

17     that matches the hatred and racism in his heart.

18            "Although Luther faces more surgeries due to this

19     attack, he is getting back to himself."

20                                   *   *   *   *

21            "I am a retired veteran of the St. Louis Metropolitan

22     Police Department, and I am writing you to ask for leniency

23     in sentencing of Dustin Boone.        I've known the Boone family

24     for many years.     I have been friends with Dustin's father,

25     Tony Boone, since high school, as well as with Dustin for


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 1     over 25 years.     Dustin's father and I have worked in uniform

 2     and in -- as with Dustin for over 25 years.           Dustin's father

 3     and I have worked in uniform and undercover operations

 4     together for a good many of the years were together on the

 5     department.

 6            "Dustin was an honest, hardworking policeman and

 7     chosen to be on a team of officers that went into the most

 8     violent areas of the city to help curb the violence plaguing

 9     those areas.

10            "Judge Webber, I do not condone the circumstances

11     surrounding this incident.        Although I implore you to take

12     into consideration the gravity of what these police officers

13     were thrust into."

14                                   *   *   *   *

15            "I know Luther personally and have also worked with

16     him over the years and consider him a friend.            I'm truly

17     grateful to Luther.      I am grateful Luther will be" -- I

18     can't read it.

19                                   *   *   *   *

20            "I am also aware that after this incident Dustin

21     reached out to Luther Hall to apologize.           This too shows the

22     character of Dustin, apologizing for being present when the

23     actions of some officer was a result of another policeman

24     being injured."

25                                   *   *   *   *


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 1            I'm going to read this one in its entirety.            It's very

 2     brief:

 3            "I am -- this is Yolanda Hall, mother of

 4     Detective Hall, undercover detective who was assaulted by

 5     the defendant.     I'm writing you today to let you know how

 6     the defendant's actions has affected Luther's life as well

 7     as our family.     Luther has already had several surgeries and

 8     will need to have more.       Most days he's in constant pain.         I

 9     know this because most days I am with him.           As you can see,

10     Your Honor, our family is very close and we spend a lot of

11     time together.     He will probably be under a doctor's care

12     for the rest of his life.         A lot of life's pleasures that he

13     used to enjoy doing he is unable to do now because of the

14     defendant.    It is very difficult to watch your child being

15     in pain and can do nothing about it.          The unprovoked actions

16     of the defendant has left him both traumatized, emotionally

17     as well as physically.       Luther is my only son and well as my

18     youngest I thank God every day that defendants did not take

19     his life.    If my son had committed a crime, he would have to

20     be held accountable for his actions, but he did not, and I

21     hope that you will see that my son Detective Luther Hall

22     gets justice and defendant pay for his unprovoked actions."

23                                   *   *   *   *

24            My name -- I am -- this also is a letter from a family

25     member of Mr. Boone:


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 1             "My name is Melissa Boone, and I am Dustin's mother.

 2     I'd like to start by saying I'm not the best at writing

 3     letters, especially under circumstances such as this one,

 4     but I'll do my best.

 5             "Dustin's biological father had very little to do with

 6     him and was only in his life when it benefited him.             When I

 7     met my husband, Tony, he treated did you say like he was his

 8     own son and instilled the same morals and values in him that

 9     my family and I had done.         Tony attempted sometimes to

10     legally adopt Dustin, but his biological father would not

11     allow it.    However, Tony continued to raise Dustin as his

12     own."

13             And it speaks of the family activities.

14                                   *   *   *   *

15             "Luther no longer trusts the police.         And this is

16     heartbreaking.     Luther used to defend the police in every

17     argument.

18             "You treated Hays and Colletta so delicately.           You

19     allowed Hays to request where he would like to do the time.

20     Why handle him gently?       He didn't handle Luther gently on

21     that night.    It looks like the officers are being treated in

22     a mild manner because they are white.          What would have

23     happened to them if they were black officers or if they beat

24     a white man like they did Luther?

25             "Do you look at the achievements of the victim?           Do


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 1     you consider the victim's family?          Luther Hall's family.

 2     The night of September 17th, 2017 forever changed our lives.

 3            "Are you going to be lenient again?          For a man that

 4     has shown through texts and actions that racism runs through

 5     his veins.    Believe the letters from his family that share

 6     the same racist blood?       Those officers saw an opportunity

 7     and seized it; they thought with no repercussions.

 8            "Those officers made a choice that night to assault a

 9     man simply because he was a black man.

10            "You say you want racial reform, yet you are so

11     lenient to police officers who assaulted a black police

12     officer.

13            "I'm trying hard to have faith in the American Justice

14     System, but it is getting more difficult."

15                                   *   *    *   *

16            "I'm writing this letter to ask for leniency in the

17     sentencing of Dustin Boone.           I'm Dustin's father and have

18     served the city of St. Louis as a police officer for 30

19     years.

20            "I came into Dustin's life when he was five years old

21     and after his mother, Melissa, and I were married, I

22     attempted to legally adopt him as my own son.            His

23     biological father denied my requests, but nevertheless, I

24     raised him as my own son.         In 2017, unbeknownst to me,

25     Dustin legally changed his name to Boone and presented the


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 1     legal documents to me on Christmas that year.            Melissa and I

 2     were extremely proud that Dustin took it upon himself to do

 3     that for me.

 4            "Dustin has -- during his career as electrician,

 5     Dustin donated his personal time to Habitat for Humanity

 6     twice a year for seven or eight years, wiring new

 7     construction homes for low income, needy families in

 8     North St. Louis."

 9            And like all these letters, some of them are very long

10     and I'm picking out what I think is significant statements.

11            "In this assignment, the street team was tasked with

12     addressing violent crimes as well as narcotics and weapons

13     offenses in some of the most dangerous neighborhoods in

14     North St. Louis.

15            "Dustin was awarded a certificate of appreciation for

16     volunteering his services at Dewey school in North St. Louis

17     where he was mentoring the students."

18                                   *   *   *   *

19            "I am Detective Luther Hall's sister.          My brother is

20     an incredible human being who prior to have been beaten by

21     his fellow officers was outgoing and enjoyed spending time

22     with his family and friends.          He is the type of person who

23     would do anything for anyone.         But because my brother's life

24     has been severely altered and he is in constant pain he's

25     unable to be the same person he once was.           My brother did


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 1     nothing wrong he was only doing what his superiors

 2     instructed him to do, but the officers took it upon

 3     themselves to beat him and did it themselves as they needed

 4     to be held accountable.       Even though I'm the oldest and I

 5     should be -- I should be protecting him, he always protected

 6     me."

 7                                   *   *   *   *

 8            "I met Dustin Boone ten years ago when Dustin was an

 9     electrician.

10            "At the time Dustin introduced my family to his

11     family, we had no running water on the property.            We were in

12     the beginning stages of drilling a well and still finishing

13     the interior of our house.        When Dustin's parents, Tony and

14     Melissa, found out we had no running water in the property,

15     they insisted we take showers at their property.            Not only

16     did they supply us with bathrooms and showers, they did all

17     the cooking that was necessary.

18            "Dustin ran the wiring down the electrical pole to the

19     house and had the electric power wired in a day."

20                                   *   *   *   *

21            "This letter is to ask you to sentence St. Louis

22     Metropolitan Police Officer Dustin Boone to the fullest

23     extent allowable.      Dustin Boone violated the oath he took to

24     protect and serve citizens of St. Louis.           Officer Boone's

25     racist and violent actions have added to the fractured


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 1     relationship between police officers and marginalized

 2     communities in St. Louis.         Mr. Boone's racist words and

 3     violent actions have added to the divide between police

 4     officers in the city, Metropolitan -- St. Louis

 5     Metropolitan -- St. Louis Police Department.

 6            "I have known and worked with Detective Luther Hall

 7     for 20 years.     Detective Hall was energetic and full of life

 8     until this incident.      His energy and smile lit up the room.

 9     Now, Detective Hall has to live with physical, mental, and

10     emotional scars for the rest of his life.           Detective Hall

11     will never be pain-free because of the actions of

12     Officer Boone and others.

13            "Racist and rogue police officers cannot be tolerated.

14     Officer Boone's actions have added yet another hurdle with

15     healing our city.      Giving the maximum allowable sentence can

16     begin the healing process for Detective Hall, our community

17     and our officers."

18                                   *   *   *   *

19            "I have known Dustin Boone for nine or ten years and

20     he is married to my wife's sister.

21            "Dustin -- I am hopeful that others see Dustin's

22     character and how the Boones have handled the adversity is

23     truly taken into consideration for this next and most

24     impactful challenge in this life-changing event."

25                                   *   *   *   *


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 1            "I'm writing this letter on behalf of my brother,

 2     Dustin Boone.     Growing up, I never felt anything but love

 3     and support from my brother.          I look up to him and always

 4     aspired to be like him.       His charisma, humor and kindness

 5     attract everyone he is near and he has more friends and

 6     acquaintances than I can count.           I always admired his

 7     ability to strike up a conversation with anyone and make

 8     them feel they have a close friend for years.

 9            "I have never known my brother to be violent or

10     aggressive towards anyone."

11                                  *    *   *   *

12            "Dustin always wanted to be a policeman and in 2015

13     made a career change and joined the police department.

14     Dustin's response to us was that, 'This is what I've always

15     wanted to do, and if you and dad could make ends meet and

16     afford to raise us as a policeman on a policeman's salary,

17     then Ashley and I can do it too.'             We have never seen him

18     happier.    He has a now wife, a beautiful daughter, and a

19     career that he always wanted.         Tony and I realize that

20     Dustin was focused and dedicated in supporting his family."

21                                   *   *   *   *

22            "The past four years have been excruciatingly painful

23     for Dustin and his family and I'm asking that you have mercy

24     during your sentencing of Dustin."

25                                   *   *   *   *


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 1            This one on behalf of the people of St. Louis.            Looks

 2     like, "Congratulations and thanks to you on the outstanding

 3     service and positive impact you have made on crime in the

 4     Fifth District."

 5            Almost finished.      A couple more.

 6                                   *   *   *   *

 7            ""As an immigrant to this country and a minority, I at

 8     times have feared how others view or treat me.            Mr. Boone

 9     met me, he listened to my story, and welcomed me with open

10     arms as a friend.      He respected my culture and my language

11     and upbringing."

12                                   *   *   *   *

13            This is the last letter I'll be reading:

14            "Ms. Costantin apologized and the following day pulled

15     Luther aside to talk to him in the aisle so that you would

16     recognize him.     The FBI agent's friend didn't come back

17     because of your misidentification.            He commented about it

18     and found it troubling.

19            "The comments you made during Randy Hays's sentencing

20     were also disturbing.       You shared that his small child would

21     be negative actively impacted by his absence with a lengthy

22     sentence; therefore 52 months was sufficient.            You mentioned

23     research supporting your statement to Bailey Colletta

24     additionally received leniency.           You actually prefaced her

25     sentence with the following statement:           'The prosecution is


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 1     going to be a little upset with me but.'           needless to say

 2     she was sentenced to three years probation and two

 3     consecutive weekends in prison.

 4            "You have shown me that you do not care about

 5     Luther Hall, his well-being nor justice for him.            Is it

 6     because he's black?      Luther was viciously assaulted because

 7     of his race.     He was a victim.     It was quite obvious that

 8     your implicit bias reared its ugly head when you

 9     misidentified him in court.        It was just unbelievable.        Wow,

10     your actions were such a slap in the face.           I guess you

11     really believe all black people look alike.

12            "I'm certain there's some guilt with your past actions

13     and dealings with African-American men that haunt you.

14            "Be realistic about the biases you have and the harm

15     you've actually caused.       Take a look at the man in the

16     mirror -- start with him.       Your bias matters because it

17     affects your decisions, behaviors, and interactions with

18     others.    Unfortunately, for African-Americans or people of

19     color, you've been dangerous with the power you have.             Think

20     about the victims that come into your courtroom.            Does their

21     quality of life matter to you?        Do you exercise the same

22     level of care when you victims are people of color?             We both

23     know the answer to those questions -- it's a hard 'No!'

24     Judge Webber you don't.       You don't recognize Luther after he

25     spent an enormous amount of time on the stand.            How


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 1     ridiculous is that, sir?       I'm asking.

 2             "Judge Webber, do you think a sentence of leniency is

 3     appropriate for Dustin Boone?        What message would that send

 4     to all of the racists like him?         Racism within police

 5     culture began with slave patrols and continues today in

 6     2021.    Look at how people were assaulted and victimized the

 7     night Luther was injured.       He was hurt and continues to

 8     suffer from the beating he endured.          His health has declined

 9     and there's another looming surgery as a result of that

10     night.   His quality of life matters, Judge Webber.

11             "I'm asking that you research Luther with the same

12     concern you exercised for Randy Hays.          Can you do that?

13             "Let me tell you about Luther.        He is a kind and

14     intelligent man.     He's such a good soul.        He's a treasured

15     friend and I love him dearly.        I've had an opportunity to

16     laugh and cry with him.       I'm grateful for our friendship."

17             That's it.

18             UNIDENTIFIED SPEAKER:      Hear the impacts statements

19     right now.

20             THE COURT:   Okay.    Impact statement from whom?

21             UNIDENTIFIED SPEAKER:      Toward Dustin Boone.

22             THE COURT:   I thought I had everything already given

23     to me.

24             UNIDENTIFIED SPEAKER:      Those are letters.      It's not

25     exactly what an impact statement is.          Those are just letters


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 1     talking about him.

 2            THE COURT:    Well, what do you have?        This is very

 3     unusual.    I don't know -- I haven't had this arise before.

 4     You want to come up and testify, is that what you want to

 5     do?

 6            UNIDENTIFIED SPEAKER:       If you allow me, I would like

 7     to.

 8            THE COURT:    How many people are you going to call?

 9            UNIDENTIFIED SPEAKER:       Just me.

10            THE COURT:    All right.

11            UNIDENTIFIED SPEAKER:       It's just something that I

12     would like --

13            THE COURT:    All right.     Come on up.     Raise your hand

14     and be sworn, please.

15            (Woman approaches podium to address the Court.)

16            DEPUTY CLERK:     State and spell your name.

17            MS. SALLY BULLOCK:      Sally Bullock.      I am related to

18     Dustin Boone.

19            I really didn't have anything prepared.           I have sent a

20     letter but that was just a letter.         What I've sat through

21     this morning and the last two trials, I just -- everyone --

22     both families are heartbroken over what happened to Luther.

23     It's just been horrendous.        The past four years -- I know

24     the reason he gave, but "I'm undercover" would have

25     prevented this, so I still don't understand that completely.


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 1             And I understand that he -- this is his last chance to

 2     get some really, really tough sentence to show the world,

 3     show the St. Louis community that you are not racist, you're

 4     not biased against blacks and whites.          And I know that

 5     you're not.    But it's just, the judicial system has to be

 6     fair.   The defendant did not hit Luther.          He did not hit

 7     him, he did not beat him.

 8             THE COURT:   That's been talked about, talked about,

 9     talked about.     I got that.     I promise you, I know he didn't

10     hit him.    He didn't -- that didn't happen.

11             MS. SALLY BULLOCK:     Okay.    Police officers face low

12     lives every day of their life.         The adrenaline that goes

13     into what they were facing going into that night -- those

14     stupid text messages, they were stupid.          I just don't feel

15     he deserves ten years of punishment when he's gone through

16     four years of punishment for stupid text messages that

17     really weren't saying what he was saying with the other

18     officers who were agreeing with him.          They had to pump

19     themselves up to face a war.        They were going to try to get

20     the troublemakers.      Not the real protesters; the people that

21     were going to destroy things.

22             THE COURT:   Ma'am, please end your statement.          End it

23     in ten words or less.       We need to get on with this.

24             MS. SALLY BULLOCK:     Okay.    Ten words or less.

25             Dustin didn't do what he is accused of doing.           He


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 1     should not be punished.       I think he should have probation

 2     for all the hell he's been through the past four years.

 3     Thank you.

 4            THE COURT:    There are issues in this case which

 5     require consideration.

 6            I first acknowledge the impact of the assault on

 7     Mr. Hall.    I believe unreasonable use of force was used

 8     against him by another defendant, already in prison, because

 9     Mr. Hall was African-American.        Mr. Hall suffered pain and

10     substantial impairment of his body, which, from evidence

11     I've heard, convinced me it will cause him permanently to

12     suffer from those injuries.

13            One of the neighbors wrote:        "Luther's life has been

14     forever changed, that he experiences ongoing physical and

15     emotional distress.      He has a loss of appetite, resulting in

16     significant weight loss, difficulty sleeping, and no longer

17     able to complete daily activities without pain.            Luther

18     didn't just lose his livelihood; he lost his identity and

19     spirit.    His job was an important part of his life.           He

20     chose not to disclose his position to an undercover officer

21     because would compromise him in serving in the capacity of

22     an undercover officer in the future.          His" -- and so forth,

23     and end quotes.

24            He certainly has two titanium braces, four titanium

25     screws, and cadaver bones supporting his neck.            From what


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 1     I'm viewing Mr. Hall's testimony, I remember, rather than

 2     addressing the hole in his mouth -- this is a statement that

 3     I'm making.    This is not from a letter.

 4            From my viewing Mr. Hall's testimony, I remember,

 5     rather than addressing the hole in his mouth and pain he was

 6     suffering, he chose to go back to headquarters to report on

 7     the riot, putting duty over personal care.           Perhaps the

 8     greatest harm came from estrangement with other officers who

 9     acted unfavorably against him in the course of the following

10     investigation.

11            The next subject mentioned is respective memorandums

12     that concern the reference to racial slurs which permeate

13     this case.    Racism has prevented this country from

14     accomplishing its envisioned destiny.

15            My life, while on the subject, was changed when I was

16     just short of four years old.        My family lived -- and my

17     father had a contracting business to transport trailer

18     houses from different government camps.          We were temporarily

19     living in Mobile, Alabama.        And one day I was outside, met

20     this girl.    She was taller than I, older than I, but we had

21     just a magical day together.        It was wonderful, and so I

22     couldn't wait to take her up and introduce her to my

23     parents.    But when I got to the door my mother said, "Well,

24     it's going to be dinner time and you need to get in and get

25     ready," and so that didn't happen.


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 1            Well, I got some kind of a message that night.            I

 2     don't remember what it was, but I know what it was, I know

 3     the meaning of it because the next day this girl came

 4     skipping up to me and she stopped because I was looking down

 5     at the ground, and she smiled and turned away and walked

 6     away and then started skipping again into the distance.              I

 7     would just so much like to have had the opportunity to see

 8     her again and tell her that I do so regret my actions in

 9     deciding that the color of her skin made me better than she.

10            I've spent my entire life trying to reverse the harm

11     racism continues to cause in dividing our country.             When I

12     read the reports of racial comments, my first question was:

13     How can the police organization in the city function if

14     racism is deeply embedded in its culture?           One officer

15     writes, "There is a cultural racism within the department

16     that no one wants to talk about."

17            Several -- that ends that discussion.

18            Several letters I received suggest anything less than

19     very severe punishment imposed by me would send the wrong

20     message to addressing racism, suggesting defendant should be

21     held accountable for all of the wrongs committed against

22     Mr. Hall the night of the assault.

23            My duty as a judge is to review the indictment,

24     consider all of the evidence in the case, and impose a

25     judgment against the defendant for his role in the case.


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 1     What was defendant's role in this case which goes to aiding

 2     and abetting the deprivation of rights under color of law

 3     resulting in bodily injury and the use of a dangerous

 4     weapon?

 5            First and foremost, the action of the officer who

 6     twice picked up Mr. Boone -- or twice picked up Mr. Hall and

 7     slammed him face-down on the concrete two times clearly

 8     violated the act for which the officer has been rightfully

 9     imprisoned.

10            I watched the video evidence that was repeatedly

11     presented against -- in the court.         There is no evidence

12     that defendant ever struck Mr. Hall.          The violent acts

13     against Mr. Hall terminated before he approached the side of

14     Mr. Hall and put his knee briefly on his back and his hand

15     on his neck, on the back of his neck while Mr. Hall's lying

16     face-down on the concrete.

17            There is no evidence Defendant Boone was compliant in

18     acting against Mr. Hall in accordance with the despicable

19     text messages.     One jury tried Defendant Boone for the

20     charges in this case and could not reach a verdict.             A

21     second jury tried defendant on the same charges and came

22     back reporting they could not reach a verdict.            Only after

23     giving them further instructions and ordering them back to

24     the jury room for deliberation, and after they deliberated,

25     did the jury come back with a verdict of guilty.


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 1            The defendant will accordingly be sentenced for his

 2     role in the offense and not for any acts of others.             A

 3     judgment imposed for the wrong reason is a failure of

 4     justice.

 5            Under the Sentencing Reform -- strike that.

 6            Under the Sentencing Reform Act of 1984, and

 7     provisions of 18 United States Code, Section 3553(a), it is

 8     the judgment of the Court that the defendant, Dustin Boone,

 9     is committed to the custody of the Bureau of Prisons to be

10     imprisoned for 12 months and one day.

11            Upon release from imprisonment he shall be placed on

12     supervised release for a term of three years.            Within 72

13     hours of release from the custody of the Bureau of Prisons

14     he shall report in person to the probation office in which

15     he is released.

16            It is further ordered, under 18 United States Code

17     3663(a), he shall make restitution in the total amount of

18     $6,590.03.    This obligation is joint and several with

19     Randy Hays in this case, meaning that no further payments

20     shall be required after the sum of the amounts actually paid

21     by all defendants has fully covered the compensable

22     injuries.

23            If such future additional defendants may be determined

24     to be responsible for the same loss, that obligation shall

25     be joint and several, meaning that no further payments shall


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 1     be required after the sum of the amounts actually paid by

 2     all defendants has been covered and the compensable

 3     injuries.    Payments of restitution shall be made to the

 4     clerk of the court for transfer to the victims.            The

 5     interest requirement for the restitution is waived.

 6            You must not commit another federal, state, or local

 7     crime.   You must not unlawfully possess a controlled -- take

 8     the -- Abby, take out the part about the controlled

 9     substances.    There's nothing in his past that suggests that

10     needs to be in there.

11            You must refrain from any -- and take out paragraph 3

12     about unlawful use of controlled substances.

13            You must cooperate in the collection of DNA as

14     directed by the probation office if collection of such

15     sample is authorized under 34 United States Code 40702.

16            You must make restitution in accordance with 18 United

17     States Code 2248, 2259, 2264, 2327, 2663(a), and 3664.

18            As part of your supervision, you must comply with the

19     standard conditions of supervision that have been adopted by

20     this Court.    As part of your supervision you must comply

21     with the following additional special conditions.             If it is

22     determined there are costs associated with any services

23     provided, you shall pay those costs based on the co-payment

24     fee established by the probation office.           You must not use

25     or possess any controlled substance -- take that part out


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 1     about controlled substances.

 2            You must provide the probation officer with access to

 3     any requested financial information and authorize the

 4     release of any financial information.          The probation office

 5     will share financial information with the United States

 6     Attorney's Office.

 7            You must not incur new credit charges or open

 8     additional lines of credit without the approval of the

 9     probation officer.      You must apply all monies received from

10     any anticipated and unexpected financial gains, including

11     tax refunds, inheritances, or judgments to the outstanding

12     Court-ordered financial obligation.          You must immediately

13     notify the probation office of the receipt of any indicated

14     monies.

15            You must submit your person, property, house,

16     residence, office, papers, computers, other electronic

17     communication or data storage device or media or office to a

18     search or searches conducted by the probation office.             You

19     must warn any other occupants that the premises may be

20     subject to searches under this condition.

21            The probation officer may conduct a search under this

22     condition only when reasonable suspicion exists that you

23     have violated a condition of supervision, and the areas to

24     be searched contain evidence of this violation.

25            You have no ability to pay a fine.          No fine is


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 1     imposed.    You must pay a special assessment of $100, which

 2     is due and payable immediately.

 3            Any notice of appeal that you have a right to file

 4     must be filed within 14 days of this date.           If you're unable

 5     to pay the cost of an appeal you may apply for leave to

 6     appeal in forma pauperis, and the clerk of the court shall

 7     assist you with those filings.

 8            Anything further from the United States?

 9            MS. COSTANTIN:     No, Your Honor.

10            THE COURT:    Anything from the defendant?

11            MR. KUEHN:    Your Honor, just a few things.         One, we

12     would ask Mr. Boone be allowed to self-surrender.

13            THE COURT:    Yes, that will be granted.

14            MR. KUEHN:    And, also, there's a facility down in

15     Pensacola, Florida that I know houses a lot of members of

16     law enforcement.     I've had prior clients that have been

17     probation officers.      I know of other police officers that

18     have been housed there.       I have a member of UNICOR, a prison

19     worker, that's housed there.          And we would ask for a

20     recommendation to that facility, please.

21            THE COURT:    All right.       That will be granted.     Did you

22     get that, Abby?

23            If there's nothing further, Court's in recess.

24            (Proceedings adjourned at 3:00 p.m.)

25                                   *   *    *   *


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 1                            REPORTER'S CERTIFICATE

 2

 3           I, Laura A. Esposito, Registered Professional Reporter

 4     and Certified Realtime Reporter, hereby certify that I am a

 5     duly appointed Official Court Reporter for the United States

 6     District Court for the Eastern District of Missouri.

 7           I further certify that the foregoing is a true and

 8     accurate transcript of the proceedings held in the

 9     above-entitled case, that said transcript contains pages 1

10     through 68, inclusive, and was delivered electronically.

11     This reporter takes no responsibility for missing or damaged

12     pages of this transcript when same transcript is copied by

13     any party other than this reporter.

14           Dated at St. Louis, Missouri, this 22nd day of November

15     2021.

16

17
                                       _______________________________
18                                     Laura A. Esposito, RPR, CRR, CRC
                                       Official Court Reporter
19

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